 

 

Case t:06-cv-01896-JLK Document 1-2 Filed 09/22/06 USDC Colorado Page 1 of 1

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a) PLAINTIFFS

iS 44 (Rev. 11/04)

DEFENDANTS

Winfrey Architectural Concrete, Inc. The United States of America

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

(b) County of Residence of First Listed Plaintiff Weld County, Colorado
(EXCEPT IN U.S, PLAINTIFF CASES)
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE

LAND INVOLVED.

(c) Attorney’s (Firm Name, Address, and Telephone N umber) Attorneys (If Known)

(303)592-5404
Merriam Law Firm, P.C., 1625 Broadway, Suite 770, Denver, CO 80202

 

 

 

 

 

 

II. BASIS OF JURISDICTION (Place an “X” in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES Piace an X" in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
oO i U.S. Government oO 3. Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State Oo 1 oO 1 Incorporated or Principal Place Oo 4 oO 4
of Business In This State
w U.S. Government Oa Diversity Citizen of Another State oO 2 oO 2 Incomporated and Principal Place oO 5 oO 5
Business In A e a
Defendant (Indicate Citizenship of Partics in Jtem ITI) of Business In Another State
Citizen or Subject ofa 0 3 Oo 3. Foreign Nation O 6 O 6
Foreign Country
IV. NATURE OF SUIT (Place an “X”' in Onc Box Only)
L. CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
7 110 Insurance PERSONAL INJURY PERSONAL INJURY O60 Agriculture 0422 Appeal 28 USC 158 (2 400 State Reapportionment
D1 120 Marine 310 Airplane DD 362 Personal Injury - 620 Other Food & Drug 423 Withdrawal 01 410 Antitrust

0 130 Miller Act 315 Airplane Product

1 140 Negotiable Instrument Liability
DD 150 Recovery of Overpayment (J 320 Assault, Libel &

& Enforcement of Judgment Slander
Gh isi Medicare Act DI 330 Federal Employers’
DF 152 Recovery of Defaulted Liability

Student Loans 1 340 Marine

(Excl. Veterans) (345 Marine Product
0153 Recovery of Overpayment Liability

CD 350 Motor Vehicle

(1 355 Motor Vehicle
Product Liability

C1 360 Other Personal

of Veteran’s Bene fits
C1 160 Stockholders’ Suits
C1 190 Other Contract
DD 195 Contract Product Liability

Med. Malpractice
365 Personal Injury -

Product Liability
[1368 Asbestos Personal

Injury Product

Liability
PERSONAL PROPERTY
(1370 Other Fraud

Dos Drug Related Seizure
of Property 21 USC 881

11630 Liquor Laws

Doao RR. & Truck

1650 Airline Regs.

Ose Occupational
Safety/Health

(1690 Other

28 USC 157

 

PROPERTY RIGHTS

 

O 820 Copyrights
D1 830 Patent
1 40 Trademark

 

(371 Truth in Lending

LABOR

SOCIAL SECURITY

 

(1380 Other Personal
Property Damage

385 Property Damage
Product Liability

 

 

DO 196 Franchise Injury
[ REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS
C) 210 Land Condemnation 0 441 Voting [3510 Motions to Vacate

D0 220 Foreclosure

CD 230 Rent Lease & Ejectment
1 240 Torts to Land

C1 245 Tort Product Liability
Di 290 All Other Real Property

0 442 Employment

DD 443 Housing/
Accommodations

0 444 Welfare

0 445 Amer. w/Disabilities -
Employment

CO 446 Amer. w/Disabilitics -

Sentence
Habeas Corpus:
0530 General
(1535 Death Penalty
(540 Mandamus & Other
(550 Civil Rights
(0555 Prison Condition

(710 Fair Labor Standards
Act

1720 Labor/M gmt. Relations

(9730 Labor/Mgmt.Reporting
& Disclosure Act

(740 Railway Labor Act

1790 Other Labor Litigation

O791 Empl. Ret. Inc.
Security Act

0 861 HIA (1395ff)

(0) 862 Black Lung (923)

0 863 DIWC/DIW W (405(g)
0 864 SSID Title XVI

1 865 RS! (405(g))

 

D430 Banks and Banking

1 450 Commerce

1 460 Deportation

01 470 Racketeer Influenced and
Corrupt Organizations

© 480 Consumer Credit

0 490 Cable/Sat TV

OF 810 Selective Service

O01 850 Securities/Commoditics/
Exchange

OD 875 Customer Challenge
12 USC 3410

0 890 Other Statutory Actions

Oso Agricultura] Acts

DERAL TAX SUITS

0 892 Economic Stabilization Act

 

870 Taxes (U.S, Plaintiff
or Defendant)
0 871 IRS—Third Party
26 USC 7609

1 893 Environmental Matters

OF 894 Energy Allocation Act

C1 895 Freedom of Information
Act

0 900Appcal of Fee Determination

Under Equal Access
to Justice
C1 950 Constitutionality of

Other
DI 440 Other Civil Rights

State Statutes

 

 

 

 

 

 

Vv. RIGIN (Place an “X” in One Box Only) Appeal to District
fl . 2 3 Oo 4y. oO Transferred from Oo 6 oo, o7 Judge from
Original Removed from Remanded from Reinstated or another district Multidistrict Magistrate
Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

26 U.S.C. § 6330

Brief description of cause:

Appeal of Notice of Determination issued by IRS Office of Appeals.

ol CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in compj@int:
UNDER F.R.C.P. 23 Reverse IRS Appeals Decision JURY DEMAND: Dives we

ef 4 / OBNEY OF RECORD
7

APPLYING IFP

 

VI. CAUSE OF ACTION

 

 

VIl. REQUESTED IN
COMPLAINT:

DATE GUL- Dre

FOR OFFICE USE ONLY

 

RECEIPT # AMOUNT

JUDGE MAG. JUDGE

ee —_—————
